Case 1:20-cv-08786-GHW_ Document 1-1 Filed 10/22/20 Page 1 Oft@1 12/28/2018
K&S

22-19 160 Street
Whitestone, NY 11357

 

Telephone: 718)767-2808 Fax: 347)438-1053
Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From: To:
#100 Broad st
NY, NY 10004 12/23/2018 12/28/2018

212) 943-0100

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
12/23 Sunday 0.00 0.00
12/24 Monday 2987.50 0.00
12/25 Tuesday 0.00 0.00
12/26 Wednesday 0.00 0.00
12/27 Thursday 2156.80 0.00
12/28 Friday 1839.40 0.00
Shipped Total 6983.70 Paid Total 0.00
Delivery Charge 0.00 Credit Memo
Credit 0.00
rn a eae a Date +/- Qty Item Price Amount
Sub-Total (+) 6,983.70 9 ween r renner ee nee
Prev.Balance(+) 159,345.84 12/24 + 1 yam ad+18.3 0.00 0.00
12/24 + 1 blbe cr-24.3 0.00 0.00
Payment 0.00 12/27 + 1 beet ad+12.3 0.00 0.00
Current Balance 166,329.54 Credit Total : 0.00
AR Aging Report Current Balance 166,329.54
Ist Week 6,983.70 Received Amount (- )
2nd Week 19,892.20 This Week Balance
3rd Week & Over 139,453.64 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest. costs. attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S

Case 1:20-cv-08786-GHW_ Document 1-1 FheRt 10/2/86 28B8i ge 2 of Bay: 347)438-1053
INVOICE

 

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 323745
#100 Broad st
NY, NY 10004 Date 12/24/2018

Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount

GRANNY SMITH 80 USA 1 43.00 43.00] BANANA Y.G Y+G ECU 2 15.50 31.00

GALA APPLE 80 USA 1 45.00 45.00 | MESCLUN SALAD MESC USA 10 8.00 80.00

STAR RUBY Cc USA 1 30.00 30.00 | EGG EX/LOOSE EXLOO USA 8 39.00 312.00

SEEDLESS GREEN GR USA 1 26.00 26.00 | SCALLION KING USA 2 29.00 58.00

FUYU c USA 0 0.00 0.00

WATERMELON SEED USA 1 40.00 40.00

CANTALOUP c USA 1 25.00 25.00

HONEY DEW Cc USA 1 17.00 17.00

JUICE ORANGE 100 USA 3 23.00 69.00

SUNKIST ORANGE 56 USA 2 34.00 68.00

LEMON SK SK/L USA 1 34.00 34.00

STRAWBERRY CAL USA 8 46.00 368.00

RASPBERRY A USA 5 30.00 150.00

BLUEBERRY A USA 6 24.00 144.00

BLACKBERRY A USA 3 21.00 63.00

AVOCADO HASS# RIPE MEX 6 28.00 168.00

PAPAYA BIG BOX RED MEX 1, 35.00 35.00

TOMATO #1 5X6 USA 3 33.00 99.00

TOMATO PLUM c MEX 1 21.00 21.00

TOMATO GRAPE R USA 1 15.00 15.00

TOMATO GRAPE YE USA 1 30.00 30.00

LETTUCE . ICEBERG A USA 1 21.00 21.00

ROMAINE CA-A USA 2 15.00 30.00

CABBAGE GR GR USA 1 29.00 29.00

CAULIFLOWER Cc USA 1 16.00 16.00

BROCCOLI CROWN CROW USA 3 22.00 66.00

ASPARAGUS LG USA 3 27.00 81.00

CELERY c USA 1 38.00 38.00

SPINACH BUSH USA 1 28.00 28.00

SPINACH BABY BA/SP USA a 9.50 38.00

GREEN COLLARD COALD USA 0 0.00 0.00

GREEN KALE KALE USA 2 29.00 58.00

ALFALFA CUP USA 1 12.00 12.00

RADICCIO.. RD/CO USA 1 13.00 13.00

BASIL A USA 1 20.00 20.00] Credit : 6.00

PEPPER GREEN GR USA 1 24.00 24.00

PEPPER RED RED USA 4 25.00 100.00

YELLOW PEPPER YELL USA 1 28.00 28.00 Total Boxes: 115.0

CUCUMBER CUM MEX 1 18.00 18.00 Delivery $ 149.50

SHANGHAI BOKCHOY SH/BK USA 1 24,00 24.00

GINGER 10LB 10LB CHN 1 10.00 10.00 Shipment 2,987.50

MUSH SPECIAL 10SP USA 4 LD? <50 70,00: | somerset

POTATO IDAHO 90 USA 2 19.00 38.00

ONION SPANISH SPI USA i: 15:00 15.00 Cash Receipt:

ONION RED RD-J USA 1 13.00 eg QO eesti ct ce eee

TOFU s USA 1. 13,.00 13.00

PINE GOLDEN GOL USA 3 13.00 39.00 Signature

BANANA BNA ECU 2 15.50 31.00

Printed on Oct 12, 2020 *keek** Balance : 159,345.84

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 1-1 Piet 107272028Page 3 ofFad: 347)438-1053

 

 

 

 

 

INVOICE
Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 323770
#100 Broad st
NY, NY 10004 Date 12/27/2018
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 42.00 42.00
STAR RUBY Cc USA 1 30.00 30.00
FUYU Cc USA Oo 0.00 0.00
WATERMELON SEED USA 1 40.00 40.00
HONEY DEW € USA 1 17.00 17.00
JUICE ORANGE 100 USA 2 23.00 46.00
SUNKIST ORANGE 56 USA 1 34.00 34.00
LEMON SK SK/L USA 1 34.00 34.00
STRAWBERRY CAL USA 6 36.00 216.00
RASPBERRY A USA 2 33.00 66.00
AVOCADO HASS# RIPE MEX 4 28.00 112.00
MANGO RIPE M/RIP MEX 5 7.00 35.00
ROMAINE CA-A USA 1 15.00 15.00
CAULIFLOWER @ USA 1 16.00 16.00
BROCCOLI CROWN CROW USA 5 21.00 105.00
RABE ANDY USA 2 40.00 80.00
ASPARAGUS LG USA 3 26.00 78.00
SPINACH BUSH USA 1 28.00 28.00
SPINACH BABY BA/SP USA 4 8.00 32.00
GREEN KALE KALE USA 1 29.00 29.00
STRINGBEAN BEAN USA 1 29.00 29.00
BASIL A USA 1 21.00 21.00
BABY ARRUGULA B/AR USA 5 21. 50 57.50
CILANTRO Cc USA 1 16.00 16.00
PEPPER GREEN GR USA 2 24.00 48.00
PEPPER RED RED USA 4 26.00 104.00
YELLOW PEPPER YELL USA 2 28.00 56.00
JALAPINO JALPN HOL 1 25.00 25.00
CUCUMBER CUM MEX 1 19.00 19.00
SQUASH GREEN GR USA 1 14.00 14.00
SQUASH YELLOW YEL MEX 1 18.00 18.00
GARLIC JAR JBOX USA 1 30.00 30.00
MUSHROOM WASH 10LB USA 1 17.00 17.00
MUSH SPECIAL 10SP USA 3 17.50 52.50
EGGPLANT GC USA 1 14.00 14.00 Credit -12.30
POTATO IDAHO 90 USA 2 19.00 38.00
POTATO RED A BOX BOX A USA 1 23.00 23.00
CARROT LOOSE LOOSE USA 1 25.00 25.00 Total Boxes: 90.0
ONION SPANISH SPI USA 1 15.00 15.00 Delivery $ 117.00
PINE GOLDEN GOL USA 2 12.00 24.00
BANANA BNA ECU 1 15.50 £5.50 Shipment 2 2,156.80
MESCLUN SALAD MESC USA 6 7.50 #5)..00) | SRS RE RRR SR SS in
EGG EX/LOOSE EXLOO USA 6 39.00 234.00
SCALLION KING USA 1 32.00 32.00 Cash Receipt:
Signature :

 

 

 

Printed on Oct 12,

2020

****** Balance : 162,333.34

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
  

RED EX FANcy
SMITH

GALA APPLE
STAR RUBY
KIWI LOOSE
WATERMELON
JUICE ORANGE
SUNKIST ORANGE
STRAWBERRY
RASPBERRY
BLUEBERRY
BLACKBERRY
AVOCADO HASS#
MANGO RIPE
TOMATO #1
TOMATO PLUM
TOMATO CHERRY
ROMAINE
CABBAGE GR
BROCCOLI CROWN
ASPARACUS
SPINACH
GREEN COLLARD
ALFALFA
PEPPER GREEN
PEPPER RED
YELLOW PEPPER
CUCUMBER
MUSHROOM WASH
MUSH SPECIAL
PORTABELLA MUS M
YAM #1

POTATO IDAHO
CARROT LOOSE
ONION SPANISH
ONION RED

PINE GOLDEN
BANANA

PLANTAIN YELLOW
MESCLUN SALAD
EGG EX/ LOOSE
HERBS ROSEMARY
YUKON A BOX
MONEY PICK UP
SCALLION

USA
80 USA
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LLOO USA
SEED USA
100 USA
56 USA
CAL USA
A USA
A USA
A USA
RIPE MEX
M/RIP MEX
5X6 USA
Cc MEX
c USA
CA-A USA
GR USA
CROW USA
LG USA
BUSH USA
COALD USA
CUP USA
GR USA
RED USA
YELL USA
CUM MEX
10LB USA
10SP USA
PO#2 USA
YAM USA
90 USA
LOOSE USA
SPI USA
RD-J USA
GOL USA
BNA ECU
e ECU
MESC USA
EXLOO USA
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34,

-cv-08786-GHW Documenti1-1 Filed 10/22/20 Page 4 of 21

00

  
   
 
  

 

Invoi
oice No. 323844

12/28/2018

 

 

Total Boxes: 78.0
Delivery $ 101.40
Shipment 1,839.40

Signature

 

Printed on Oct 12, 2020

ke#kkkek*k Balance : 164,490.14

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
Case 1:20-cv-08786-GHW_ Document 1-1 Filed 10/22/20 Page S2ife1_ 01/04/2019

K&S
22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From : To:

#100 Broad st
NY, NY 10004 12/30/2018 01/04/2019

212) 943-0100

 

 

 

 

 

 

Shipped Amont Payment

12/30 Sunday 0.00 0.00
12/31 Monday 2385.10 6983.70
01/01 Tuesday 0.00 0.00
01/02 Wednesday 3872.90 0.00
01/03 Thursday BOTT «nO 0.00
01/04 Friday 2981.40 0.00

Shipped Total 12517 <10 Paid Total 6983.70

Delivery Charge 0.00 Credit Memo

Credit 0.00
at ela taiia Date +/- Qty Item Price Amount
Sub-Total (2) We. BaF .40) =s=SS-SS skeen re RSS Sh Saree
Prev.Balance(+) 166,329.54 No credit has been recorded
Payment 6,983.70

Current Balance 171,862.94

 

 

 

 

 

 

 

 

 

 

 

 

 

AR Aging Report Current Balance 171,862.94
Ist Week 12,517.10 Received Amount (-)
2nd Week 0.00 This Week Balance
3rd Week & Over 159,345.84 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
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All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S

Case 1:20-cv-08786-GHW Document 1-1. nett 10/92/35 8 Bane 6 oti 347438 10°°

 

 

 

 

 

 

 

INVOICE
Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 323933
#100 Broad st
Ny, NY 10004 Date 12/31/2018
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 40.00 40.00 | PINE GOLDEN GOL USA 2 14.00 28.00
STAR RUBY C USA 1 3160 31.00 | BANANA BNA ECU 1 15.50 15.50
SEEDLESS GREEN GR USA 1 30.00 30.00 | PLANTAIN YELLOW c ECU a, p00 27.00
SEEDLESS RED RED USA 1 25.00 25.00 | MESCLUN SALAD MESC USA 10 7.50 75.00
FUYU c USA 0 0.00 0.00 | EGG EX/LOOSE EXLOO USA 6 38.50 231.00
CANTALOUP Cc USA 1 23.00 23.00
HONEY DEW Cc USA 1 22.00 22.00
JUICE ORANGE 100 USA 2 23.00 46.00
SUNKIST ORANGE 56 USA 2 34.00 68.00
STRAWBERRY CAL USA 6 35.00 210.00
RASPBERRY A USA 4 38.00 152.00
BLUEBERRY A USA 4 21.00 84.00
BLACKBERRY A USA 2 18.00 36.00
AVOCADO HASS# RIPE MEX 2 29.00 58.00
PAPAYA BIG BOX RED MEX 1 38.00 38.00
MANGO MEXICAN € MEX 6 7.50 45.00
TOMATO CHERRY Cc USA 1 17.00 17.00
TOMATO GRAPE R USA 1 15.00 15.00
TOMATO GRAPE YE USA 0 0.00 0.00
ROMAINE CA-A USA 1 14.00 14.00
BROCCOLI CROWN CROW USA 3 20.00 60.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 1 25.00 25.00
CELERY c USA 1 34.00 34.00
SPINACH BUSH USA 1 28.00 28.00
SPINACH BABY BA/SP USA 4 7.50 30.00
GREEN LEAF GR USA 1 26.00 26.00
GREEN KALE KALE USA 4 31.00 124.00
STRINGBEAN BEAN USA 1 28.00 28.00
BRUSSEL SP LOOSE USA 2 32.00 64.00
SHALLOT JAR/5LB sJ#5 USA 1 10.00 10.00
RADICCIO.. RD/CO USA 1 13.00 13.00
BABY ARRUGULA B/AR USA 4 11.50 46.00
PARSLEY PLAIN FULL USA 1 35.00 35.00
CILANTRO Cc USA 1 18.00 18.00
PEPPER GREEN GR USA 1 24,00 24.00
PEPPER RED RED USA 2 28.00 56.00
YELLOW PEPPER YELL USA 1 27.00 27.00 Total Boxes: 102.0
CUCUMBER CUM MEX 1 18.00 18.00 Delivery $ : 132.60
SQUASH GREEN GR USA 1 12.00 12.00
SQUASH YELLOW YEL MEX 1 12.00 12.00 Shipment 2,385.10
GARLIC JAR JBOX USA 1 36.00 36.00 | ---------- errr rrr rrr
SHANGHAI BOKCHOY SH/BK USA 1 24.00 24.00
MUSH SPECIAL 10SP USA 2 17.50 35.00 Cash Receipt:
PORTABELLA MUS M POo#2 USA 2 9.50 VD | mmm
POTATO IDAHO 90 USA 2 19.00 38.00
CARROT LOOSE LOOSE USA 1 25.00 25.00 Signature :
ONION SPANISH SPI USA 1 15.00 15.00
Printed on Oct 12, 2020 *xeeee* Balance : 166,329.54

The perishable agricultural com
commodities act, 1930(7 U.S.C.
products derived from these commodities and any receivables or proceed from the sale

modities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
of these commodities until full payment is recieved.
K&S§S Case 1:20-cv-08786-GHW_ Document 1-1 heel: 10/82 (7E8B age 7 of xt 347)438-1053

 

 

 

 

 

 

 

INVOICE

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 323996

#100 Broad st

NY, NY 10004 Date 01/02/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 35.00 35.00 | CUCUMBER CUM MEX 3 18.00 54.00
GRANNY SMITH 80 USA 2 40.00 80.00 | SQUASH GREEN GR USA 1 13.00 13.00
STAR RUBY Cc USA 1 33.00 33.00] SQUASH YELLOW YEL MEX 1. 22/00 11.00
SEEDLESS GREEN GR USA i 31..00 31.00] GARLIC JAR JBOX USA 1 40.00 40.00
SEEDLESS RED RED USA 1 22.00 22.00 | GINGER 10LB 10LB CHN 1 10.00 10.00
FUYU eC USA 0 0.00 0.00 | MUSHROOM WASH 10LB USA 2 17.00 34.00
KIWI LOOSE LLOO USA 1 21.00 21.00 | MUSH SPECIAL 10SP USA 2 17.50 35.00
WATERMELON SEED USA 2 42.00 84.00 | PORTABELLA MUS M POo#2 USA 2 9.50 19.00
JUICE ORANGE 100 USA 2 22.00 44.00 | EGGPLANT c USA 1 £S.00 13.00
SUNKIST ORANGE 56 USA 2 34.00 68.00 | POTATO IDAHO 90 USA 2 19.00 38.00
LEMON SK SK/L USA 2 34.00 68.00 | CARROT LOOSE LOOSE USA 3 25.00 75.00
STRAWBERRY CAL USA 8 28.00 224.00) ONION SPANISH SPI USA 2 15.00 30.00
RASPBERRY A USA 6 38.00 228.00] ONION RED RD-J USA 2 13.00 26.00
BLUEBERRY A USA 5 24.00 120.00] PINE GOLDEN GOL USA 3 13.00 39.00
BLACKBERRY A USA 3 18.00 54.00] BANANA BNA ECU 4 15.50 62.00
AVOCADO HASS# RIPE MEX 8 29.00 232.00] BANANA Y.G ¥+G ECU 1 15.50 15.50
PAPAYA BIG BOX RED MEX 1 38.00 38.00| CIDER 1/2G USA 1 27.00 27.00
MANGO RIPE M/RIP MEX 5 7.50 37.50 | MESCLUN SALAD MESC USA 16 7.50 120.00
LIME 48 MEX 1 9.00 9.00] EGG EX/LOOSE EXLOO USA 8 38.50 308.00
TOMATO #1 5X6 USA 3 27.00 81.00 | SCALLION KING USA 3 36.00 108.00
TOMATO PLUM c MEX 2 19.00 38.00
TOMATO CHERRY Cc USA 1 17.00 17.00
TOMATO GRAPE R USA 1 14.00 14.00
TOMATO GRAPE YE USA 1 26.00 26.00
ROMAINE CA-A USA 3 14.00 42.00
CABBAGE GR GR USA 1 31.00 31.00
CABBAGE RED RED USA E 33..006 33.00
CAULIFLOWER Cc USA 2 15.00 30.00
BROCCOLI CROWN CROW USA 1 20.00 20.00
RABE ANDY USA 2 40.00 80.00
ASPARAGUS LG USA 2 23.00 46.00
CELERY é USA 2 34.00 68.00
SPINACH BUSH USA 2 29.00 58.00
SPINACH BABY BA/SP USA 10 7.00 70.00
GREEN COLLARD COALD USA 0 0.00 0.00
GREEN KALE KALE USA 3 30.00 90.00
STRINGBEAN BEAN USA 1 27.00 27.00
BRUSSEL SP LOOSE USA 1 30.00 30.00 Total Boxes: 168.0
RADISH HORSE HORS USA 1 18.00 18.00 Delivery $ : 218.40
MINT A USA 1 14.00 14.00
BASIL A USA 1 21.00 21.00 Shipment : 3,872.90
BABY ARRUGULA B/AR USA 5 11.50 57.50 | See ee
CILANTRO C USA 2 16.00 32.00
BEETS 25LB LBAG CAN 2% DL,00 11.00 Cash Receipt:
PEPPER GREEN GR USA 1 25.00 DE a
PEPPER RED RED USA 4 29.00 116.00
YELLOW PEPPER YELL USA 1 27.00 27.00 Signature
JALAPINO JALPN HOL 41 26.00 26.00
Printed on Oct 12, 2020 *#kkek* Balance : 161,730.94

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 1-1 PPAR 10/292 88°bage = fits 4_ 347438: 1055

 

 

 

 

 

 

 

INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 324010

#100 Broad st

NY, NY 10004 Date 01/03/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 35.00 35.00 | MUSHROOM WASH 10LB USA 1 17.00 17.00
GRANNY SMITH 80 USA 1 40.00 40.00 | MUSH SPECIAL 10SP USA 3 17250 52.50
POMEGRANATES Cc USA 1 26.00 26.00 | PORTABELLA MUS M PO#2 USA 3 9.50 28.50
FUYU Gg USA 2 20.00 40.00] EGGPLANT ITALIAN ITAL USA 1 26.00 26.00
WATERMELON SEED USA 1 42.00 42.00 | POTATO IDAHO 90 USA 2 19.00 38.00
CANTALOUP ec USA 1 24.00 24.00] POTATO RED A BOX BOX A USA 1 23.00 23.00
HONEY DEW c USA 1 28.00 28.00 | CARROT LOOSE LOOSE USA 1 25.00 25.00
JUICE ORANGE 100 USA 2 21.60 42.00] ONION SPANISH SPI USA 2 15.00 30.00
SUNKIST ORANGE 56 USA 1 34.00 34.00] ONION RED RD-J USA 2 13.00 26.00
STRAWBERRY CAL USA 5 31.00 155.00] PINE GOLDEN GOL USA 3 14.00 42.00
RASPBERRY A USA 2 38.00 76.00 | MESCLUN SALAD MESC USA 20 7.50 150.00
BLUEBERRY A USA 3 20.00 60.00 | EGG EX/LOOSE EXLOO USA 7 38.50 269.50
BLACKBERRY A USA 1 16.00 16.00 | EGG BROWN/CT BR/CT USA 1 50.00 50.00
AVOCADO HASS# RIPE MEX 7 28.00 196.00 | SCALLION KING USA 2 36.00 72.00
PAPAYA BIG BOX RED MEX 1 38.00 38.00
MANGO RIPE M/RIP MEX 15 7.00 105.00
TOMATO #1 5X6 USA 2 25.00 50.00
TOMATO PLUM Cc MEX 2 419.00 38.00
TOMATO CHERRY c USA 1 17.00 17.00
TOMATO GRAPE R USA 2 14.00 28.00
TOMATO GRAPE YE USA 1 26.00 26.00
YEIIOW. TOMATO YTO USA 0 0.00 0.00
LETTUCE . ICEBERG A USA 1 18.00 18.00
ROMAINE CA-A USA 3 14.00 42.00
CAULIFLOWER e USA 1 15.00 15.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 4 20.00 80.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 2 23.00 46.00
SPINACH BABY BA/SP USA 12 7.00 84.00
GREEN COLLARD COALD USA 0 0.00 0.00
GREEN KALE KALE USA 2 30.00 60.00
FRENCH BEAN FREN USA 1 16.00 16.00
SNOWPEA A USA 1 14.00 14.00
ENDIVES A USA 1 22.00 22.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 29.00 29.00
RADISH HORSE HORS USA 1 19.00 19.00 Total Boxes: 164.0
RADICCIO.. RD/CO USA 1 13.00 13.00 Delivery $ : 213.20
BASIL A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 12 11.50 138.00 Shipment 3,277.70
PEPPER GREEN GR USA 2 24.00 DB mm EE
PEPPER RED RED USA 6 29.00 174.00
YELLOW PEPPER YELL USA 2 29.00 58.00 Cash Receipt:
JALAPINO JALPN HOL 1 26.00 26.00 | ——— na re ern nm
CUCUMBER CUM MEX 2 19.00 38.00
GARLIC JAR JBOX USA 1 40.00 40.00 Signature :
SHANGHAI BOKCHOY SH/BK USA 1 24.00 24.00
Printed on Oct 12, 2020 #keee* Balance : 165,603.84

The perishable agricultural

commodities act, 1930(7 U
products derived from these commodities and any receiv

commodities listed on this invoice are sold subject to the statutory trust au
S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commoditi
ables or proceed from the sale of these commodities until full payment

thorized by section 5(c) of the perishable agricultural
es, all inventories of food or other
is recieved.
K&S Case 1:20-cv-08786-GHW_ Document 1-1 hett 10/)29268°Page 9 di 347/438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 324085
#100 Broad st
NY, NY 10004 Date 01/04/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 40.00 80.00 | TOFU s USA 1 13.00 13.00
STAR RUBY eG USA 1 34.00 34.00 | PINE GOLDEN GOL USA 4 14.00 56.00
POMEGRANATES Cc USA 1 36.00 36.00] BANANA BNA ECU 3 15.50 46.50
SEEDLESS GREEN GR USA 1 32.00 32.00] MESCLUN SALAD MESC USA 10 7.50 75.00
SEEDLESS RED RED USA 1 19.00 19.00 | EGG EX/LOOSE EXLOO USA 6 38.50 231.00
FUYU c USA 0 0.00 0.00} MONEY PICK UP sss ) 0.00 0.00
KIWI LOOSE LLOO USA 1 21.00 21.00 | SCALLION KING USA 2 37.00 74.00
WATERMELON SEED USA 1 42.00 42.00
HONEY DEW Cc USA 1 30.00 30.00
JUICE ORANGE 100 USA 2: 21...00 42.00
SUNKIST ORANGE 56 USA 2 34.00 68.00
STRAWBERRY CAL USA 10 27.00 270.00
RASPBERRY A USA 5 36.00 180.00
BLUEBERRY A USA 6 12.00 72.00
BLACKBERRY A USA 3 18.00 54.00
AVOCADO HASS Cc USA 3 30.00 90.00
MANGO RIPE M/RIP MEX 10 7.00 70.00
TOMATO #1 5X6 USA 2 24.00 48.00
TOMATO PLUM c MEX 1 19.00 19.00
TOMATO GRAPE R USA 2 14.00 28.00
TOMATO GRAPE YE USA 1 26.00 26.00
LETTUCE . ICEBERG A USA 1 18.00 18.00
ROMAINE CA-A USA 3 14.00 42.00
CAULIFLOWER c USA 1 15.00 15.00
BROCCOLI CROWN CROW USA 3B 21.00 63.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 2 26.00 52.00
CELERY Cc USA 1 32.00 32.00
SPINACH BABY BA/SP USA 10 7.00 70.00
GREEN KALE KALE USA 2 31.00 62.00
STRINGBEAN BEAN USA 1 28.00 28.00
BRUSSEL SP LOOSE USA 2 28.00 56.00
BABY ARRUGULA B/AR USA 4 11.50 46.00
BEETS 25LB LBAG CAN 2 11.00 22.00
PEPPER GREEN GR USA 2 25.00 50.00
PEPPER RED RED USA 3 40.00 120.00
YELLOW PEPPER YELL USA 2 29.00 58.00
CUCUMBER CUM MEX 1 19.00 19.00 Total Boxes: 138.0
SQUASH GREEN GR USA 1 13.00 13.00 Delivery $ : 179.40
SQUASH YELLOW YEL MEX 1. ©3,00 13.00
WATERCRESS B&w MEX 1 20.00 20.00 Shipment : 2,981.40
MUSHROOM WASH 10LB USA 1 17.00 VT OO mm
MUSH SPECIAL 10SP USA 3 27,50 52.50
PORTABELLA MUS M PO#2 USA 2 9.50 19.00 Cash Receipt:
POTATO IDAHO 90 USA. 219.00 9-38.00 | nner rrr TSS
CARROT LOOSE LOOSE USA 2 26.00 52.00
ONION SPANISH SPI USA 1 15.00 15.00 Signature
ONION RED RD-J USA 1 13.00 13.00
Printed on Oct 12, 2020 xkkekk Balance : 168,881.54

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
Case 1:20-cv-08786-GHW_ Document 1-1. Filed 10/22/20 Page 1Paf 4 ONO”
K&S

22-19 160 Street
Whitestone, NY 11357

Telephone : 718)767-2808 Fax: 347)438-1053

Ship To: #1TEB 100 BROAD STREET LLC (ESSEN) From : To:

PLO BEORD GF 01/06/2019 01/11/2019
NY, NY 10004 = LPTA(204

212) 943-0100

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shipped Amont Payment
01/06 Sunday 0.00 0.00
01/07 Monday 4394.20 12517 .10
01/08 Tuesday 3556.80 0.00
01/09 Wednesday 3516.90 0.00
01/10 Thursday 3582.40 0.00
01/11 Friday 2926.80 0.00
Shipped Total 17977,10 Paid Total 12517.10
Delivery Charge 0.00 Credit Memo
Credit 0.00 Sean eee SSSSSSSSS255: ee
me nnn Date +/- Oty Item Price Amount
Sub-Total (4) 27pOTTE0 9 Sees ee em et
Prev.Balance(+) 171,862.94 01/10 + 1 sk cr-35.3 0.00 0.00
01/10 + 2 blbe cr-46.6 0.00 0.00
Payment 12,517.10 01/10 + 1 radic cr-1.3 0.00 0.00
Current Balance 177,322.94 Credit Total : 0.00
AR Aging Report Current Balance 177,322.94
1st Week 17,977.10 Received Amount (-)
2nd Week 0.00 This Week Balance
3rd Week & Over 159,345.84 Received By
Paid By

 

 

 

 

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S

Case 1:20-cv-08786-GHW Document 1-1 Fileebel:0/23)207-2Rage 11 oF at:
INVOICE

347)438-1053

 

 

 

 

 

 

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 324198
#100 Broad st
NY, NY 10004 Date 01/07/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 35.00 35.00 | BASIL A USA L, 22.00 21.00
GRANNY SMITH 80 USA 1 42.00 42.00 | BABY ARRUGULA B/AR USA 10 11.50 115.00
GALA APPLE 80 USA 1 45.00 45.00] PARSLEY PLAIN FULL USA 1 28.00 28.00
STAR RUBY c USA 1 34.00 34.00 | CILANTRO Cc USA 2 18.00 36.00
POMEGRANATES c USA 1 36.00 36.00] PEPPER GREEN GR USA 2 26.00 52.00
SEEDLESS GREEN GR USA 1 32.00 32.00 | PEPPER RED RED USA 3 41.00 123.00
SEEDLESS RED RED USA Ll 22.00 22.00 | YELLOW PEPPER YELL USA 2 29.00 58.00
FUYU CUP F/CUP USA 1 36.00 36.00 | JALAPINO JALPN HOL 1. 25.00 25.00
WATERMELON SEED USA 1 42.00 42.00 | CUCUMBER CUM MEX 2 20.00 40.00
CANTALOUP Cc USA 1 20.00 20.00 | SQUASH GREEN GR USA 2 Les 00 34.00
JUICE ORANGE 100 USA 1 22.00 22.00] GARLIC JAR JBOX USA 1 50.00 50.00
SUNKIST ORANGE 56 USA 2 34.00 68.00 | GINGER 10LB 10LB CHN 1. 10.00 10.00
LEMON SK SK/L USA 1 32.00 32.00 | MUSHROOM WASH 10LB USA 2 17.00 34.00
STRAWBERRY CAL USA 8 20.00 160.00 | MUSH SPECIAL 108SP USA 4 17.50 70.00
RASPBERRY A USA 6 32.00 192.00] PORTABELLA MUS M PO#2 USA 6 9.50 57.00
BLUEBERRY A USA 6 18.00 108.00] EGGPLANT c USA a eebO T2700
BLACKBERRY A USA 2 24.00 48.00 | EGGPLANT ITALIAN ITAL USA 1 25.00 25.00
AVOCADO HASS# RIPE MEX 8 31.00 248.00] POTATO IDAHO 90 USA 3 20.00 60.00
PAPAYA BIG BOX RED MEX 1 38.00 38.00] POTATO RED A BOX BOX A USA 1 24.00 24.00
MANGO RIPE M/RIP MEX 10 7.50 75.00} CARROT LOOSE LOOSE USA 1 26.00 26.00
LIME 48 MEX 1 10.00 10.00] ONION SPANISH SPI USA 2 15.00 30.00
TOMATO #1 5X6 USA 3 26.00 78.00 | ONION RED RD-J USA 2 13.00 26.00
TOMATO PLUM Cc MEX 2 22.00 44.00 | PINE GOLDEN GoL USA 4 14.00 56.00
TOMATO CHERRY Cc USA 2 19.00 38.00 | BANANA BNA ECU 5 15.50 77.50
TOMATO GRAPE R USA 3 13.00 39.00 | MESCLUN SALAD MESC USA 18 250 Tad5<00
TOMATO GRAPE YE USA 1 34.00 34.00 | EGG EX/LOOSE EXLOO USA 6 35.00 210.00
TOMATILLO ORG MEX 1 18.00 18.00 | EGG BROWN/CT BR/CT USA 14 50.00 50.00
YEITIOW. TOMATO YTO USA 0 0.00 0.00 | HERBS ROSEMARY ROSE CHL 1 7.50 7.50
ROMAINE CA-A USA 4 15.00 60.00 | YUKON A BOX Y ABO USA 1 36.00 36.00
CABBAGE GR GR USA 1 28.00 28.00) SCALLION KING USA 3 38.00 114.00
CAULIFLOWER c USA 2 19.00 38.00} SQUASH BUTTERNUT BUIN USA 1 22.00 22.00
FLOWER ORCHID 100 USA i 2300 23.00
BROCCOLI CROWN CROW USA 5 24.00 120.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 24.00 Ta OO
CELERY c USA 1 33.00 33.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN LEAF GR USA 1 24.00 24.00 Total Boxes: 204.0
GREEN COLLARD COALD USA 1 36.00 36.00 Delivery $ : 265.20
GREEN KALE KALE USA 4 32.00 128.00
STRINGBEAN BEAN USA 1 27.00 27.00 Shipment : 4,394.20
FRENCH BEAN PBEM USA: < 20.00 20.00 | Sq Salers cece treo en ons rreeeien
SUGAR SNAPEA SNAP PER 1 18.00 18.00
ALFALFA CUP USA 1 12.00 12.00 Cash Receipt
BRUSSEL SP LOOSE USA 2 30.00 60.00 | --n essen nr er
RADISH HORSE HORS USA 1 19.00 19.00
RADICCIO.. RD/CO USA 1 13.00 13.00 Signature :
MINT A USA 1 15.00 15.00
Printed on Oct 12, 2020 *keeee* Balance : 171,862.94

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act. 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 1-1 _Piend 10/3319? 8(Bage 12 dips 347438-1053

 

 

 

 

 

 

 

INVOICE

ShipTo: # 1TES 100 BROAD STREET LLC (ESSEN) Invoice No. 324220

#100 Broad st

NY, NY 10004 Date 01/08/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 42.00 42.00 | GINGER 10LB 10LB CHN 1 10.00 10.00
GALA APPLE 80 USA 1 45.00 45.00 | MUSHROOM WASH 10LB USA 2 17.00 34.00
STAR RUBY a USA 1 34.00 34.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
POMEGRANATES c USA 1 36.00 36.00| PORTABELLA MUS M PO#2 USA 3 9.50 28.50
SEEDLESS RED RED USA 1 22.00 22.00 | EGGPLANT ITALIAN ITAL USA 1 26.00 26.00
KIWI LOOSE LLOO USA 1 21.00 21.00 | POTATO IDAHO 90 USA 3 20.00 60.00
CANTALOUP Cc USA 1 19.00 19.00 | CARROT LOOSE LOOSE USA 1 26.00 26.00
HONEY DEW C USA 1 25.00 25.00 | ONION SPANISH SPI USA 2 15.00 30.00
JUICE ORANGE 100 USA 2 22.00 44.00 | ONION RED RD-J USA 2 13.00 26.00
SUNKIST ORANGE 56 USA 2 34.00 68.00 | PINE GOLDEN GOL USA 4 14.00 56.00
LEMON SK SK/L USA 1 32.00 32.00] PLANTAIN YELLOW c ECU 1 27.00 27.00
STRAWBERRY CAL USA 7 18.00 126.00] MESCLUN SALAD MESC USA 18 7.50 135.00
RASPBERRY A USA 5 32.00 160.00] EGG EX/LOOSE EXLOO USA 6 35.00 210.00
BLUEBERRY A USA 7 18.00 126.00] SCALLION KING USA 3 38.00 114.00
BLACKBERRY A USA 3 18.00 54.00
AVOCADO HASS# RIPE MEX 8 30.00 240.00
PAPAYA BIG BOX RED MEX 1 38.00 38.00
MANGO RIPE M/RIP MEX 10 8.00 80.00
TOMATO #1 5x6 USA 3 26.00 78.00
TOMATO PLUM G MEX 1 23.00 23.00
TOMATO CHERRY c USA 1 20.00 20.00
TOMATO GRAPE R USA 2 13.00 26.00
TOMATO GRAPE YE USA 1 34.00 34.00
LETTUCE . ICEBERG A USA 1 28.00 28.00
ROMAINE CA-A USA 3 19.00 57.00
CAULIFLOWER c USA 1 22.00 22.00
BROCCOLI CROWN CROW USA 5 25.00 125.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 26.00 78.00
CELERY Cc USA 1 34.00 34.00
SPINACH BUSH USA 2 29.00 58.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN KALE KALE USA 4 30.00 120.00
STRINGBEAN BEAN USA 1 26.00 26.00
SNOWPEA A USA 1 20.00 20.00
BRUSSEL SP LOOSE USA 2 30.00 60.00
SHALLOT JAR/5LB sJ#5 USA 1 10.00 10.00
RADISH CEL USA 1, 3:00 13.00 Total Boxes: 161.0
PARSLEY PLAIN FULL USA 1 30.00 30.00 Delivery $ : 209.30
BEETS 25LB LBAG CAN 1 11.00 i-<66
PEPPER GREEN GR USA 1 27.00 27.00 Shipment : 3,556.80
PEPPER RED RED USA 2 42.00 BA.00 | mam ee een em
YELLOW PEPPER YELL USA 2 26.00 52.00
CUCUMBER CUM MEX 2 24.00 48.00 Cash Receipt:
SQUASH GREEN GR USA 1 18.00 18.00 | --- a ee en rm
SQUASH YELLOW YEL MEX 1 15.00 15.00
GARLIC JAR JBOox USA 1 52.00 52.00 Signature i
SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
Printed on Oct 12, 2020 *#*kkk*k Balance : 163,740.04

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 1-1 Pins 1d/3¥OP Sage 13 hPa SAPS 108°

INVOICE

 

 

 

 

 

 

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 324289
#100 Broad st
NY, NY 10004 Date 01/09/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH B80 USA 1 40.00 40.00 | MUSHROOM WASH 10LB USA 3 17.00 51.00
STAR RUBY c USA 1 32.00 32.00 | MUSH SPECIAL 10SP USA 3 17.50 52.50
POMEGRANATES Cc USA 1 34.00 34.00] PORTABELLA MUS M POo#2 USA 5 9.50 47.50
SEEDLESS GREEN GR USA 1 32.00 32.00] YAM #1 YAM USA i, 20.00 20.00
WATERMELON SEED USA 1 45.00 45.00 | EGGPLANT c USA 1 19.00 19.00
HONEY DEW c USA 1 25.00 25.00 | POTATO IDAHO 90 USA 2 20.00 40.00
JUICE ORANGE 100 USA 2. 22.00 44.00 | POTATO RED A BOX BOX A USA 1 24.00 24.00
SUNKIST ORANGE 56 USA 2 34.00 68.00 | CARROT LOOSE LOOSE USA 1 26.00 26.00
LEMON SK SK/L USA 1 32.00 32.00 | ONION SPANISH SPI USA 2 15.00 30.00
STRAWBERRY CAL USA 4 20.00 80.00 | ONION RED RD-J USA 2 13.00 26.00
RASPBERRY A USA 6 36.00 216.00] PINE GOLDEN GOL USA 3 14.00 42.00
BLUEBERRY A USA 6 22.00 132.00 | BANANA BNA ECU 2 15.50 31.00
AVOCADO HASS# RIPE MEX 6 30.00 180.00] MESCLUN SALAD MESC USA 16 7.50 120.00
PAPAYA BIG BOX RED MEX 1. 36.00 36.00] EGG EX/LOOSE EXLOO USA 7 35.00 245.00
MANGO RIPE M/RIP MEX 12 8.00 96.00 | SCALLION KING USA 3 38.00 114.00
TOMATO #1 5X6 USA 2 26.00 52.00] SQUASH BUTTERNUT BUIN USA 1 23.00 23.00
TOMATO PLUM Cc MEX 2 21.00 42.00
TOMATO CHERRY Cc USA 1 20.00 20.00
TOMATO GRAPE R USA 2 13.00 26.00
YEIIOW. TOMATO YTO USA 0 0.00 0.00
LETTUCE . ICEBERG A USA 1 28.00 28.00
ROMAINE CA-A USA 4 20.00 80.00
CAULIFLOWER Cc USA 2 24.00 48.00
BROCCOLI CROWN CROW USA 3 25.00 75.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 2 25.00 50.00
SPINACH BUSH USA 1 28.00 28.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN LEAF GR USA 1 25.00 25.00
GREEN COLLARD COALD USA 1 28.00 28.00
GREEN KALE KALE USA 3 29.00 87.00
STRINGBEAN BEAN USA 1 24.00 24.00
SUGAR SNAPEA SNAP PER 1 27,00 17.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 30.00 30.00
RADICCIO.. RD/CO USA 1 12.00 12.00
BABY ARRUGULA B/AR USA 10 11.50 115.00
CILANTRO c USA 1 17.00 17.00 Total Boxes: 163.0
BEETS 25LB LBAG CAN 1 11.00 11.00 Delivery § : 211.90
PEPPER GREEN GR USA 2 28.00 56.00
PEPPER RED RED USA 2 41.00 82.00 Shipment 3,516.90
YELLOW PEPPER YELL USA 2 26.00 BD mE
JALAPINO JALPN HOL 1 25.00 25:..00
CUCUMBER CUM MEX 2 22.00 44.00 Cash Receipt:
SQUASH GREEN GR USA 1 22.00 22:00) | seer ser sts ee ee eee
SQUASH YELLOW YEL MEX 1 18.00 18.00
GARLIC JAR JBOX USA 1 56.00 56.00 Signature
MOO c USA 1 28.00 28.00
Printed on Oct 12, 2020 *eekee* Balance : 167,296.84

The perishable agricultural commodities listed on this in

commodities act. 1930(7 U.S.C, 499(E)(C)). The seller o
products derived from these commodities and any receiva

voice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

f these commodities retains a trust claim over these commodities, all inventories of food or other
bles or proceed from the sale of these commodities until full payment Is recieved.
K&S

Case 1:20-cv-08786-GHW_ Document 1-1 PRE 1.0/8379b28P8aqe 14 bpp 347/438-1055

 

 

 

 

 

 

 

 

INVOICE

Ship To: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 324361

#100 Broad st

NY, NY 10004 Date 01/10/2019
Item Type Origin QTY Price | Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 35.00 35.00] YELLOW PEPPER YELL USA 2 25.00 50.00
GRANNY SMITH 80 USA 1 41.00 41.00 | CUCUMBER CUM MEX 2 22.00 44.00
STAR RUBY Cc USA 1 33.00 33.00 | SQUASH GREEN GR USA 1 24.00 24.00
POMEGRANATES Cc USA 1 35.00 35.00 | SQUASH YELLOW YEL MEX 1 18.00 18.00
SEEDLESS GREEN GR USA 1 35.00 35.00] GARLIC JAR JBOX USA 1 56.00 56.00
SEEDLESS RED RED USA 1 28.00 28.00] SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
KIWI LOOSE LLOO USA 1. 22.00 22.00 | GINGER 10LB 10LB CHN 1 10.00 10.00
WATERMELON SEED USA 1 44.00 44.00 | MUSHROOM WASH 10LB USA 2 17.00 34.00
CANTALOUP Cc USA 1 19.00 19.00 | MUSH SPECIAL 10SP USA 3 17.50 52.50
HONEY DEW c USA 1 26.00 26.00 | PORTABELLA MUS M Po#2 USA 2 9.50 19.00
JUICE ORANGE 100 USA 2 22.00 44.00] POTATO IDAHO 90 USA 2 20.00 40.00
SUNKIST ORANGE 56 USA 2 34.00 68.00 | CARROT LOOSE LOOSE USA 2 26.00 52.00
STRAWBERRY CAL USA 9 20.00 180.00 | ONION SPANISH SPI USA 2 15.00 30.00
RASPBERRY A USA 4 36.00 144.00 | ONION RED RD-J USA 2 13.00 26.00
BLUEBERRY A USA 7 14.00 98.00 | PINE GOLDEN GOL USA 4 15.00 60.00
BLACKBERRY A USA 3 16.00 48.00 | BANANA BNA ECU 2 15.50 31.00
AVOCADO HASS# RIPE MEX 8 30.00 240.00 | MESCLUN SALAD MESC USA 16 7.50 120.00
PAPAYA BIG BOX RED MEX 1 35.00 35.00 | EGG EX/LOOSE EXLOO USA 7 35.00 245.00
MANGO RIPE M/RIP MEX 5 8.00 40.00 | YUKON A BOX Y ABO USA 1 37.00 37.00
LIME 48 MEX 1 10.00 10.00 | SCALLION KING USA 2 40.00 80.00
TOMATO #1 5X6 USA 2 24.00 48.00
TOMATO PLUM Cc MEX 2 22.00 44.00
TOMATO CHERRY c USA 1 20.00 20.00
TOMATO GRAPE R USA 3 12.00 36.00
YELIOW. TOMATO YTO USA 0 0.00 0.00
ROMAINE CA-A USA 4 24.00 96.00
CABBAGE GR GR USA 1 26.00 26.00
CABBAGE RED RED USA 1 36.00 36.00
CAULIFLOWER c USA 1 28.00 28.00
BROCCOLI CROWN CROW USA 4 25.00 100.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 2 27.00 54.00
CELERY c USA 2 38.00 76.00
SPINACH BUSH USA 1 28.00 28.00
SPINACH BABY BA/SP USA 10 6.50 65.00 Credit 83.20
GREEN KALE KALE USA 3 30.00 90.00
SNOWPEA A USA 1 19.00 19.00
ENDIVES A USA 1 22.00 22.00 Total Boxes: 167.0
ALFALFA CUP USA 1 12.00 12.00 Delivery §$ 217.10
BRUSSEL SP LOOSE USA 2 31.00 62.00
RADICCIO.. RD/CO USA aL 0.00 0.00 Shipment 3,582.40
MINT A USA 1 15.00 15.00 | <s<SSssccerscrerrcertt  O ee
BASIL A USA 1 20.00 20.00
BABY ARRUGULA B/AR USA 6 11.50 69.00 Cash Receipt:
CILANTRO (ss USA 1 17.00 LT 00 | mmm
BEETS 25LB LBAG CAN 2 11.00 22.00
PEPPER GREEN GR USA 2 28.00 56.00 Signature
PEPPER RED RED USA 2 36.00 72.00
Printed on Oct 12, 2020 kkek*e* Balance : 170,813.74

The perishable agricultural commodities listed on this invoice are sold subject to the
commodities act, 1930(7 U.S.C. 499(E)(C)). The seller of these commodities retains
products derived from these commodities and any receivables or proceed from the sa

statutory trust authorized by section 5(c) of the perishable agricultural
a trust claim over these commodities, all inventories of food or other
le of these commodities until full payment is recieved.
K&S Case 1:20-cv-08786-GHW Document 1-1 Plkad :1G/3219C28Bage 15 6Py1 347)438-1053

 

 

 

 

 

 

 

INVOICE
ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 324431
#100 Broad st
NY, NY 10004 Date 01/11/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 41.00 41.00 | EGG EX/LOOSE EXLOO USA 6 35.00 210.00
STAR RUBY c USA 1 33.00 33.00 | SCALLION KING USA 2 40.00 80.00
POMEGRANATES Cc USA 1 35.00 35.00
SEEDLESS GREEN GR USA 1 36.00 36.00
SEEDLESS RED RED USA 1 26.00 26.00
KIWI LOOSE LLOO USA 1 22.00 22.00
WATERMELON SEED USA 2 45.00 90.00
JUICE ORANGE 100 USA 2 22.00 44.00
SUNKIST ORANGE 56 USA 2 34.00 68.00
STRAWBERRY CAL USA 10 15.00 150.00
RASPBERRY A USA 7 28.00 196.00
BLUEBERRY A USA 7 25.00 175.00
BLACKBERRY A USA 3 18.00 54.00
AVOCADO HASS# RIPE MEX 4 30.00 120.00
PAPAYA BIG BOX RED MEX 1 35.00 35.00
MANGO RIPE M/RIP MEX 10 8.00 80.00
TOMATO #1 5X6 USA 1 25.00 25.00
TOMATO PLUM Cc MEX 1 22.00 22.00
TOMATO GRAPE YE USA 1 34.00 34.00
ROMAINE CA-A USA 1 24.00 24.00
CAULIFLOWER c USA 2 28.00 56.00
BROCCOLI CROWN CROW USA 4 25.00 100.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 26.00 78.00
SPINACH BUSH USA 1 28.00 28.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN KALE KALE USA 1 40.00 40.00
STRINGBEAN BEAN USA 1 24.00 24.00
RADICCIO.. RD/CO USA 1 12.00 12.00
BABY ARRUGULA B/AR USA 6 11.50 69.00
CILANTRO c USA 1 17.00 17.00
PEPPER GREEN GR USA 1 28.00 28.00
PEPPER RED RED USA 1 32.00 32.00
YELLOW PEPPER YELL USA 2 25.00 50.00
JALAPINO JALPN HOL 1 25.00 25.00
CUCUMBER CUM MEX 1, 23,00 23.00
GARLIC JAR JBOX USA 1 52.00 52.00
MUSHROOM WASH 10LB USA 2 17.00 34.00 Total Boxes: 136.0
MUSH SPECIAL 10SP USA 3 17.50 52.50 Delivery §$ : 176.80
PORTABELLA MUS M PO#2 USA 4 9.50 38.00
POTATO RED A BOX BOX A USA 1 25.00 25.00 Shipment : 2,926.80
CARROT LOOSE LOOSE USA 1 26.00 DE OO | mm
ONION SPANISH SPI USA 2 15.00 30.00
ONION RED RD-J USA 2 13.00 26.00 Cash Receipt:
TOFU s USA 1 13,00 13.00 | mma ee
PINE GOLDEN GOL USA 3 15.00 45.00
BANANA BNA ECU 3 15.50 46.50| Signature
MESCLUN SALAD MESC USA 10 7.50 75.00
Printed on Oct 12, 2020 **kk** Balance : 174,396.14

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural
commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
. = i 1
Case 1:20-cv-08786-GHW Documenti1-1 Filed 10/22/20 Page 16 gi 2: aieneie
K&S

22-19 160 Street
Whitestone, NY 11357

 

Telephone : 718)767-2808 Fax: 347)438-1053
Ship To: #1TEB 100 BROAD STREET LLC (ESSEN)
#100 Broad st rom: a3
NY, NY 10004 01/13/2019 01/18/2019

212) 943-0100

 

Shipped Amont

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Payment
01/13 Sunday 0.00 0.00
01/14 Monday 3892.40 0.00
01/15 Tuesday 3685.90 0.00
01/16 Wednesday 3565.40 16708.20
01/17 Thursday 3605.30 0.00
01/18 Friday 3306.10 0.00
Shipped Total 18055.10 Paid Total 16708.20
Delivery Charge 0.00 Credit Memo
redit 0.00
a aan Date +/- Oty Item Price Amount
Sub-Total (+) 28,055.10 eee n nnn na------------ +--+ +--+ -------------
Prev.Balance(+) 177,322.94 01/18 + 1 Yprp er-23.3 0.00 0.00
Payment 16,708.20 Credit Total : 0.00
Current Balance 178,669.84
AR Aging Report Current Balance 178,669.84
Ist Week 18,055.10 Received Amount (- )
2nd Week 1,268.90 This Week Balance
3rd Week & Over 159,345.84 Received By
Paid By

 

 

 

 

i i ities lis is invoi j 5 i / i f the perishable agricultural
The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) 0 :
eonmmodities ag 930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
All interest, costs, attorney's fees due seller shall be considered sums owing in connection with this transaction uner the PACA trust.
K&S

Case 1:20-cv-08786-GHW Document 1-1 Fill LOM {20 rage 17 of a1

347)438-1053

 

INVOICE

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN)

#100 Broad st Invoice No. 324547

NY, NY 10004
lien Te Origin OTY Pres Amon Date 01/14/2019
RED EX FANCY 80 USA 1 35.00 = ae ae ory Frice Amount
GALA APPLE 80 USA 1 45.00 45.00| cucumBER CUM MEX : i hag
STAR RUBY c USA 2 33.00 66.00] SQUASH GREEN GR USA 1 24.00 24.00
POMEGRANATE s Cc USA 1 35.00 35.00] sQuASH YELLOW YEL MEX 1 22.00 22.00
KIWI LOOSE LLOO USA 1 21.00 21.00] GARLIC JAR JBOX USA 1 50.00 50.00
WATERMELON SEED USA 1 46.00 46.00 | SHANGHAI BOKCHOY SH/BK USA 1 25.00 25.00
CANTALOUP c USA 1 16.00 16.00] GINGER 10LB 10LB CHN 1 10.00 10.00
HONEY DEW G USA 1 26.00 26.00] MUSHROOM WASH 10LB USA 3 17.00 51.00
JUICE ORANGE 100 USA 3 22.00 66.00 | MUSH SPECIAL 10SP USA 3 17.50 52.50
SUNKIST ORANGE 56 USA 3 34.00 102.00] PORTABELLA MUS M PO#2 USA 1 9.50 9.50
LEMON SK SK/L USA 1 30.00 30.00] vam #1 YAM USA 1 20.00 20.00
STRAWBERRY CAL USA 6 14.00 84.00] EcePLANT Cc USA 1 22.00 22.00
RASPBERRY A USA 3 24.00 72.00] PoTaTO IDAHO 90 USA 2 20.00 £40.00
BLUEBERRY A USA 2 16.00 32.00 | POTATO RED A BOX BOX A USA 1 25.00 25.00
BLACKBERRY A USA 2 16.00 32.00] CARROT LOOSE LOOSE USA 2 27.00 54.00
AVOCADO HASS# RIPE MEX 8 32.00 256.00] ONION SPANISH SPI USA 2 16.00 32.00
PAPAYA RED RIPE RIPE MEX 1 39.00 39.00] ONION RED RD-J USA 2 13.00 £26.00
MANGO RIPE M/RIP MEX 10 8.00 80.00 | PINE GOLDEN GOL USA 3 15.00 £45.00
TOMATO #1 5X6 USA 2 25.00 £50.00] BANANA BNA ECU 3 15.50 # £46.50
TOMATO PLUM Ec MEX 2 22.00 44.00]| PLANTAIN YELLOW Ee ECU) 1 27.00 27.00
TOMATO CHERRY c USA 1 20.00 20.00] MESCLUN SALAD MESC USA 20 7.50 150.00
TOMATO GRAPE R USA 4 12.00 48.00 | EGG EX/LOOSE EXLOO USA 7 29.00 203.00
TOMATO GRAPE YE USA 1 28.00 28.00] HERBS ROSEMARY ROSE CHL 1 = 7.50 7.50
LETTUCE . ICEBERG A USA 1 29.00 29.00 | HERBS THYME THYM CHL 1 7550 7.50
ROMAINE CA-A USA 4 23.00 92.00 | SCALLION KING USA 3 48.00 144.00
CABBAGE GR GR USA 1 25.00 £25.00
CAULIFLOWER c USA 1 28.00 28.00
FLOWER ORCHID 100 USA 1 23.00 £23.00
BROCCOLI CROWN CROW USA 5 24.00 120.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 29.00 87.00
CELERY c USA 1 40.00 40.00
SPINACH BUSH USA 1 28.00 28.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN LEAF GR USA 1 22.00 22.00
GREEN COLLARD COALD USA 1 22.00 22.00
GREEN KALE KALE USA 3 32.00 96.00
STRINGBEAN BEAN USA 1 24.00 24.00] Total Boxes: 183.0
ALFALFA CUP USA 1 12.00 12.00] Delivery §$ : 237.90
BRUSSEL SP LOOSE USA 2 34.00 68.00
BASIL A USA 1 20.00 20.00 Shipment : 3,892.40
BABY ARRUGULA B/AR USA 8 11.50 92.00 | ---------------------9------------------------
PARSLEY PLAIN FULL USA 1 22.00 22.00
CILANTRO Cc USA 2 17.00 34.00 Cash Receipt:
BEETS 25LB LBAG CAN 1 11.00 RAN) serene a
PEPPER GREEN GR USA 2 29.00 58.00
PEPPER RED RED USA 3 32.00 96.00 Signature
YELLOW PEPPER YELL USA 2 25.00 50.00

ekeekke Balance : 177,322.94

Printed on Oct 12, 2020

i i ities lis is invoi j i ; i ishable agricultural
The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the peris
contnoditics ach 930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities. all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 1-1 Piles LO/A87@A2shAGE 18 Gf21 347)438-1053
INVOICE

 

 

 

 

 

 

ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 324570
#100 Broad st
NY, NY 10004 Date 01/15/2013
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 2 41.00 82.00 |} SQUASH YELLOW YEL MEX 1 22.00 22.00
GALA APPLE 80 USA 1 45.00 45.00] GARLIC JAR JBOX USA 1 48.00 48.00
POMEGRANATES Cc USA E 33.00 33.00 | SHANGHAI BOKCHOY SH/BK USA 1 24.00 24.00
SEEDLESS GREEN GR USA 1 36.00 36.00 | MUSHROOM WASH 10LB USA 3 17.00 51.00
SEEDLESS RED RED USA 1 24.00 24.00 | MUSH SPECIAL 10SP USA 4 17.50 70.00
WATERMELON SEED USA 1 46.00 46.00} PORTABELLA MUS M PO#2 USA 4 9.50 38.00
CANTALOUP Cc USA 1 15200 15.00 |} POTATO IDAHO 90 USA 2 21.00 42.00
HONEY DEW Cc USA 1 30.00 30.00 | CARROT LOOSE LOOSE USA 2 28.00 56.00
JUICE ORANGE 100 USA 2 22.00 44.00] ONION SPANISH SPI USA 2 16.00 32.00
SUNKIST ORANGE 56 USA 3 34.00 102.00] ONION RED RD-J USA 2 £3.00 26.00
LEMON SK SK/L USA 1 30.00 30.00} TOFU s USA 1 13.00 13.00
STRAWBERRY CAL USA 6 25.00 150.00] PINE GOLDEN GOL USA 4 14.00 56.00
RASPBERRY A USA 4 27.00 108.00] BANANA BNA ECU 2 15.50 31.00
BLUEBERRY A USA 5 16.00 80.00 | MESCLUN SALAD MESC USA 16 7.50 120.00
BLACKBERRY A USA 3 15.00 45.00 | EGG EX/LOOSE EXLOO USA 7 29.00 203.00
AVOCADO HASS# RIPE MEX 7 32.00 224.00] YUKON A BOx Y ABO USA 1 34.00 34.00
PAPAYA RED RIPE RIPE MEX 1 39.00 39.00} SCALLION KING USA 3 50.00 150.00
MANGO RIPE M/RIP MEX 10 8.00 80.00
TOMATO #1 5X6 USA 3 24.00 72.00
TOMATO PLUM c MEX 2 21.00 42.00
TOMATO CHERRY ¢ USA 1 20.00 20.00
TOMATO GRAPE R USA 2 12:00 24.00
YEIIOW. TOMATO YTO USA 1 25.00 25.00
ROMAINE CA-A USA 3 20.00 60.00
CABBAGE GR GR USA 1 21.00 21.00
CAULIFLOWER Cc USA 1 28.00 28.00
FLOWER ORCHID 100 USA 1 23.00 23.00
BROCCOLI CROWN CROW USA 4 25.00 100.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 30.00 90.00
CELERY c USA 1 38.00 38.00
SPINACH BABY BA/SP USA 12 6.50 78.00
GREEN KALE KALE USA 3 32.00 96.00
STRINGBEAN BEAN USA 1 24.00 24.00
SNOWPEA A USA 1 20.00 20.00
ALFALFA CUP USA 1 12.00 12.00
BRUSSEL SP LOOSE USA 1 34.00 34.00
SHALLOT JAR/5LB SJ#5 USA 1 10.00 10.00] Total Boxes: 173.0
RADICCIO.. RD/CO USA 1 12.00 12.00 Delivery $ : 224.90
MINT A USA 1 15.00 15.00
BASIL A USA 1 20.00 20.00 Shipment 3,685.90
BABY ARRUGULA B/AR USA 10 11.50 115,00) -----------------------------------------+-----
BEETS 25LB LBAG CAN 1 11.00 11.00
PEPPER GREEN GR USA 2 28.00 56.00 Cash Receipt:
PEPPER RED RED USA; 2d. 20500  (S0200) | ieeceeme seme mimesis eee
YELLOW PEPPER YELL USA 2 23.00 46.00
CUCUMBER CUM MEX 2 23.00 46.00 Signature
SQUASH GREEN GR USA 1 24.00 24.00
Printed on Oct 12, 2020 keekeK* Balance : 181,215.34

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

se iG 7 : ities retains i iti inv ies of food or other
commodities act. 1930(7 U.S.C. 499(E\(C)). The seller of these commodities retains a trust claim over these commodities. all inventories 0
products derived from tine commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S

Case 1:20-cv-08786-GHW Document 1-1 FilkedeLOaiZ0.oRage 19 of 21

347)438-1053

 

 

 

 

 

 

 

ShipTo: # I1TEB 100 BROAD a: ¥@ Ic E
: , STREET LLC (ESSEN) ;
#100 Broad st Invoice No. 324648
Ty J 1

fica : wn = mee Date 01/16/2019
GRANNY SMITH — Origin ( = a \igoun sen SPECTRE Type Origin QTY Price Amount
STAR RUBY e USA 1 33.00 33. 10SP USA 4 17.50 70.00

7 -00 | PORTABELLA MUS M_ po#2 USA 2 9.50 19.00
POMEGRANATES Cc USA 1 16.00 16.00] yam #1 YAM USA 1 20.00 20.00
SEEDLESS GREEN GR USA 1 30.00 30.00 | EGGPLANT Cc USA x 24.00 24.00
SEEDLESS RED RED USA 1 24.00 24.00] POTATO IDAHO 90 USA 2 21.00 42.00
WATERMELON SEED USA 1 46.00 46.00 | CARROT LOOSE LOOSE USA 2 28.00 56.00
JUICE ORANGE 100 USA i 22:00 22.00] ONION SPANISH SPI USA 2 16.00 32.00
SUNKIST ORANGE 56 USA 2 34.00 68.00] ONION RED RD-J USA 2 13.00 26.00
STRAWBERRY CAL USA 6 22.00 132.00 PINE GOLDEN GOL USA 4 14.00 56.00
RASPRERRY A USA 5 30.00 150.00] BANANA BNA ECU 3 15.50 46.50
BLUEBERRY A USA 3 19.00 57.00 | YUCA DOM EUC 1 22.00 22.00
BLACKBERRY A USA 1 15.00 15.00] CALABAZA c USA 1 20.00 20.00
AVOCADO HASS# RIPE MEX 7 32,00 224.00 MESCLUN SALAD MESC USA 20 7.50 150.00
PAPAYA BIG BOX RED MEX 1 36.00 36.00 | EGG EX/LOOSE EXLOO USA 7 29.00 203.00
MANGO RIPE M/RIP MEX 10 8.00 80.00] MONEY PICK UP $ss 0 0.00 0.00
LIME 48 MEX 1 11.00 11.00 | SCALLION KING USA 2 58.00 116.00
TOMATO #1 5X6 USA 2 25.00 50.00 | SQUASH KABOCHA KABO MEX 1 26.00 26.00
TOMATO PLUM ¢ MEX L 21.00 £1300
TOMATO GRAPE R USA 2 12.00 24.00
TOMATO GRAPE YE USA 1 28.00 28.00
LETTUCE . ICEBERG A USA 1 28.00 28.00
ROMAINE CA-A USA 2 20.00 40.00
CAULIFLOWER Cc USA 2 28.00 56.00
FLOWER ORCHID 100 USA 1 23...00 23.00
BROCCOLI CROWN CROW USA 5 25.00 125.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 34.00 102.00
CELERY c USA 1 37.00 37.00
SPINACH BUSH USA 1 29.00 29.00
SPINACH BABY BA/SP USA 8 6.50 52.00
GREEN LEAF GR USA 1 21.00 21.00
GREEN COLLARD COALD USA 1 22.00 22.00
GREEN KALE KALE USA 4 32.00 128.00
STRINGBEAN BEAN USA 1 23.00 23.00
ENDIVES A USA 1 20.00 20.00
ALFALFA CUP USA % 12.06 12.00
BRUSSEL SP LOOSE USA 2 38.00 76.00
RADICCIO.. RD/CO USA 1 12.00 12.00 Total Boxes: 163.0
BABY ARRUGULA B/AR USA 6 11.50 69.00 Delivery $ 211.90
CILANTRO c USA 1 17.00 17.00
BEETS 25LB LBAG CAN 1 11.00 11.00 Shipment 3,565.40
PEPPER GREEN GR USA 2 28.00 DG,.00) | Sse me iii im a ie ae
PEPPER RED RED USA 3 30.00 90.00
YELLOW PEPPER YELL USA 2 22.00 44.00 Cash Receipt:
JALAPINO JALPN HOL 1 25.00 25.00 | ------------------------------——------<<---<8-
CUCUMBER CUM MEX 3 24.00 72.00
SQUASH GREEN GR USA 1 24.00 24.00 Signature
SQUASH YELLOW YEL MEX 1 22.00 22.00
Printed on Oct 12, 2020 *k#ekke* Balance : 184,901.24

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.
K&S 347)438-1053

Case 1:20-cv-08786-GHW Document 1-1. PRON 10/315028 Pag 6 20 df)
INVOICE

 

 

 

 

 

 

ShipTo: # i1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 394735
#100 Broad st
NY, NY 10004 Date 01/17/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
RED EX FANCY 80 USA 1 34.00 34.00] PORTABELLA MUS M PO#2 USA 3 9.50 28.50
GRANNY SMITH 80 USA 2 41.00 82.00] POTATO IDAHO 90 USA 2 22.00 44.00
STAR RUBY cS USA 1 33.00 33.00 | CARROT LOOSE LOOSE USA 1 28.00 28.00
POMEGRANATES Cc USA 2 20.00 40.00] ONION SPANISH SPI USA 2 16.00 32.00
SEEDLESS GREEN GR USA 1 30.00 30.00 | ONION RED RD-J USA 2 13.00 26.00
KIWI LOOSE LLOO USA 1 23.00 23.00] PINE GOLDEN GOL USA 3 14.00 42.00
CANTALOUP c USA 1 15.00 15.00 | BANANA BNA ECU 3 15.50 46.50
HONEY DEW Cc USA 1 27.00 27.00 | MESCLUN SALAD MESC USA 18 7:50 135.00
JUICE ORANGE 100 USA 2 22.00 44.00 | EGG EX/LOOSE EXLOO USA 7 29.00 203.00
SUNKIST ORANGE 56 USA 2 34.00 68.00] HERBS ROSEMARY ROSE CHL 1 7.50 7.50
LEMON SK SK/L USA 1 30.00 30.00 | YUKON A BOX Y ABO USA 14 35.00 35.00
STRAWBERRY CAL USA 8 22.00 176.00 | SCALLION KING USA 2 58.00 116.00
RASPBERRY A USA 5 30.00 150.00
BLUEBERRY A USA 4 25.00 100.00
AVOCADO HASS# RIPE MEX 8 32.00 256.00
PAPAYA BIG BOX RED MEX 1 39.00 39.00
MANGO RIPE M/RIP MEX 15 8.50 127.50
TOMATO #1 5X6 USA 3 24.00 72.00
TOMATO PLUM Cc MEX 2 20.00 40.00
TOMATO CHERRY Cc USA 1 19.00 19.00
TOMATO GRAPE R USA 3 12.00 36.00
TOMATO GRAPE YE USA 1 26.00 26.00
LETTUCE . ICEBERG A USA 1 26.00 26.00
ROMAINE CA-A USA 4 18.00 72.00
CABBAGE GR GR USA 1 21.00 21.00
CAULIFLOWER Cc USA 1 32.00 32.00
BROCCOLI CROWN CROW USA 4 24.00 96.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 36.00 108.00
SPINACH BUSH USA 1 30.00 30.00
SPINACH BABY BA/SP USA 14 6.50 91.00
GREEN KALE KALE USA 4 31.00 124.00
FRENCH BEAN FREN USA 1 16.00 16.00
BRUSSEL SP LOOSE USA 1 39.00 39.00
BASTL A USA 1 21.00 21.00
BABY ARRUGULA B/AR USA 6 11.50 69.00
CILANTRO Gc USA 1 17.00 17.00
BEETS 25LB LBAG CAN 1 11.00 11.00 Total Boxes: 171.0
PEPPER GREEN GR USA 1 27.00 27.00 Delivery § 222.30
PEPPER RED RED USA 2 28.00 56.00
YELLOW PEPPER YELL USA 2 22.00 44.00 Shipment 3,605.30
CUCUMBER CUM MEX 1 30.00 BO .00 | me eee
SQUASH GREEN GR USA 1 26.00 26.00
SQUASH YELLOW YEL MEX 1 28.00 28.00 Cash Receipt:
GARLIC JAR JBOX USA 1 46.00 ME 00 | mm EE
SHANGHAI BOKCHOY SH/BK USA 1 22.00 22.00
GINGER 10LB 10LB CHN 1 10.00 10.00 Signature
MUSH SPECIAL 10SP USA 4 17:50 70.00
Printed on Oct 12, 2020 *#e*4%* Balance : 171,758.44

The perishable agricultural commodities listed on this in
commodities act. 1930(7 U.S.C, 499(E)(C)). The seller o

products derived from these commodities and any receivables or proceed from the sale of these commodities until full payment is recieved.

voice are sold subject to the statutory trust authorized by section 5(c) of :
f these commodities retains a trust claim over these commodities, all inventories of fo

the perishable agricultural
od or other
K&S Case 1:20-cv-08786-GHW__Document 1-1 Pind 1 G/82196?8Baqe 21 GP 3474381053

 

 

 

 

 

 

 

 

INVOICE
ShipTo: # 1TEB 100 BROAD STREET LLC (ESSEN) Invoice No. 324792
#100 Broad st
NY, NY 10004 Date 01/18/2019
Item Type Origin QTY Price Amount | Item Type Origin QTY Price Amount
GRANNY SMITH 80 USA 1 41.00 41.00] POTATO IDAHO 90 USA 3 22.00 66.00
STAR RUBY Cc USA 1 33,00 33.00] POTATO RED A BOX BOX A USA 1 25.00 25.00
POMEGRANATES Cc USA 2 20.00 40.00] CARROT LOOSE LOOSE USA 1 28.00 28.00
SEEDLESS RED RED USA 1 24.00 24.00 | ONION SPANISH SPI USA 2 16.00 32.00
WATERMELON SEED USA 1 45.00 45.00] ONION RED RD-J USA 2 13.00 26.00
JUICE ORANCE 100 USA 1 22.00 22.00} PINE GOLDEN GOL USA 3 14.00 42.00
SUNKIST ORANGE 56 USA 2 34.00 68.00 | BANANA BNA ECU 3 15.50 46.50
STRAWBERRY CAL USA 10 18.00 180.00 | MESCLUN SALAD MESC USA 18 7.50 135.00
RASPBERRY A USA 5 30.00 150.00] EGG EX/LOOSE EXLOO USA 8 29,00 232.00
BLUEBERRY A USA 5 20.00 100.00 | SCALLION KING USA 3 55.00 165.00
BLACKBERRY A USA 2 15.00 30.00
AVOCADO HASS# RIPE MEX 4 32.00 128.00
PAPAYA BIG BOX RED MEX 1 39.00 39.00
MANGO RIPE M/RIP MEX 10 9.00 90.00
TOMATO #1 5X6 USA 1 25.00 25.00
TOMATO PLUM Cc MEX 1 17.00 17.00
TOMATO CHERRY c USA 1 19.00 19.00
TOMATO GRAPE R USA 3 11.00 33.00
ROMAINE CA-A USA 2 18.00 36.00
BROCCOLI CROWN CROW USA 3B 21.00 63.00
RABE ANDY USA 1 40.00 40.00
ASPARAGUS LG USA 3 36.00 108.00
CELERY c USA 1 37.00 37.00
SPINACH BUSH USA 1 29.00 29.00
SPINACH BABY BA/SP USA 10 6.50 65.00
GREEN LEAF GR USA 1 20.00 20.00
GREEN COLLARD COALD USA 1 19.00 19.00
GREEN KALE KALE USA 4 31.00 124.00
STRINGBEAN BEAN USA 1 20.00 20.00
BRUSSEL SP LOOSE USA 2 38.00 76.00
SHALLOT JAR/5LB sJ#5 USA 1 10.00 10.00
RADICCTIO.. RD/CO USA 1, 2200 12.00
BABY ARRUGULA B/AR USA 4. 11.50 46.00
PARSLEY PLAIN FULL USA 1 24.00 24.00
CILANTRO Cc USA 1 16.00 16.00 Credit : 23.30
PEPPER GREEN GR USA 2 25.00 50.00
PEPPER RED RED USA 2 24.00 48.00
YELLOW PEPPER YELL USA 2 20.00 40.00 Total Boxes: 158.0
JALAPINO JALPN HOL 1 25.00 25.00 Delivery $ : 205.40
CUCUMBER CUM MEX 2 23.00 46.00
SQUASH GREEN GR USA 1 25.00 25.00 Shipment : 3,306.10
SQUASH YELLOW YEL MEX 1 26.00 DE OO | mm
GARLIC JAR JBOX USA 1 46.00 46.00
MUSHROOM WASH 10LB USA 3 17.00 51.00 Cash Receipt:
MUSH SPECIAL 10SP USA 4 17.50 70.00 | Spee Hse eee
PORTABELLA MUS M PO#2 USA 3 9.50 28.50
YAM #1 YAM USA 1 20.00 20.00 Signature
EGGPLANT Cc USA 1 22.00 22.00
Printed on Oct 12, 2020 *#e***e Balance : 175,363.74

The perishable agricultural commodities listed on this invoice are sold subject to the statutory trust authorized by section 5(c) of the perishable agricultural

commodities act, 1930(7 U.S.C, 499(E)(C)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
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